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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NEW YORK

  INRE:

  CRAIG SCOTT TADDONIO                                       Chapter 7 Proceeding

           Debtor,                                           CASE NO. 8-16-74128-LAs~·'
                                                                                              m
                                                                                              '0
  KENNETH BEANE,

           Plaintiff,                                        Adversary Proceeding No.
                                                                                               --<
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                                                                                               *;J...
  V.

  CRAIG SCOTT TADDONIO,

           Defendant.


   COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY AND OBJECTING
     TO DEBTOR'S DISCHARGE PURSUANT TO SECTIONS 5i3 AND 727 OF THE
                         BANKRUPTCY CODE

           Plaintiff Kenneth Beane ("Beane") by and through undersigned counsel sues Defendant

  Craig Scott Taddonio ("Debtor") and further states:

,._ --" - ~ - L--- · --OnSeptember-9,-:2016, Debtor filed a voluntary.petition (''Petition'-').for-relief. ·

  under Chapter 7 of Title 11 of the United States Code ("Bankruptcy Code") in the United States

  Bankruptcy Court for the Eastern District of New York.

           2.        On December 1,2016 the Debtor's duly noticed Meeting of Creditors was held

  pursuant to Section 341 (a) of the United States Bankruptcy Code ("341 Meeting").

           3.        As of the date of this Complaint, Debtor has not been granted a discharge.

           4.        The Complaint is timely because the debt has yet to be discharged.

           5.        This is an adversary proceeding in which the Plaintiff/Creditor is objecting to
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    Debtor's discharge under Bankruptcy Code Section 727 and is seeking a determination as to the

    dischargeability of the debt owed by the Debtor to Plaintiff/Creditor under Bankruptcy Code

    Section 523(a) (19).

           6.         The Court has jurisdictioi1 over this adversary proceeding pursuant to 28 U.S.C.

    Bankruptcy Code Sections 523, 727 and 1328.

           7.         This case is a core proceeding pursuant to 28 U.S.C. Sections 157(b) (2) (I) and

    157(b) (2) (J).

            8.        Plaintiff is over 18, sui juris and a resident of the State of Florida.

            9.        Plaintiff is a creditor due to the fact that he filed a Statement of Claim and

    commenced a FINRA arbitration proceeding under FINRA Case No. 15-02075. The matter was

    stayed ·as to the _Debtor but proceeded to final hearing as to the remaining party Respondents.

            10.       Defendant is the Debtor in the above-styled matter and at all times has resided at 2

    Salt Meadow Road, Babylon, NY 11702.
                                                                                                "

            11.       Plaintiff was the Defendant's customer and Defendant was the principal owner of

    Craig Scott Capital, LLC ("CSC") and direct supervisor over Plaintiffs broker (as well as all

    trading activities at the firm) during the time that Plaintiff maintained a brokerage account at

    csc.
            12.       Sometime in early 2012 Plaintiff opened a brokerage account at CSC. CSC was a

    FINRA registered broker-dealer with its principal place of business located in Uniondale, NY.

    However, on January 28, 2016 CSC;'s FINRA membership was cancelled for numerous

    violations of FINRA rules and regulations, and state/federal securities laws.

            13.       Debtor was also the subject of that certain SEC Administrative Proceeding, File

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      No. 3-17206 in which an Order Instituting Administrative and Cease-and-Desist Proceedings, et

      al. was entered that imposed civil penalties of $25,000.00 against the Debtor for various

      violations of secu~ities laws. The Debtor is also the subject or"a FINRA Department of

      Enforcement proceeding in which mimerous bad acts are alleged to have been conducted at the

      direction and under the supervision of, the Debtor. Some of the causes of action alleged by

      FINRA relate to acts involving fraud.

              14.    FINRA offers its customers and members the option of engaging in arbitration to

      resolve disputes ·related to the acts of its members, and current and former employees/agents also

      known as associated persons.

              15.    Debtor was the president, supervisor and chief compliance officer at CSC who

      directed a campaign to cold call potential customers for the purpose of convincing them to open

      securities accounts that CSC and its brokers would th~n chum for excessive commissions. In

      fact, a CSC broker Mr. Zachary Bader following the instructions of the Debtor targeted the

      Plaintiff and pressured him to invest a substantial amount of money in certain stocks related to

      the biotechnology ~ector. The Debtor encouraged "cold-calling" by his sales force to obtain

      clients like the Plaintiff. Moreover, at the direction of the Debtor, the broker ignored a "do not

      call" telemarketing restriction imposed by the Plaintiff, a violation of FIN RA Rule 3230 and

      2010.

              16.    The Debtor directed his broker to induce the Plaintiff into opening an account at

      CSC by making lofty promises as to the hefty returns on investments that the Plaintiff could

      expect to realize from the broker's trading. The Debtor encouraged the use of every high pressure

      sales tactic available to the broker-tactics that were taught to all CSC brokers by the Debtor.

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                17.   Plaintiff had absolutely no experience in the type of highly speculative investing

     that the Debtor directed his broker to engage in on behalf of the Plaintiff. Thereupon, Plaintiff

     agreed to open an account with the Debtor. The Debtor then instructed the broker to have the

     Plaintiff sign blank new account forms which he then completed after the blank forms were

     returned signed by the Plaintiff.

                18.   Plaintiff did not .realize that at the Debtor's direction, his broker Mr. Bader had

     overstated the Plaintiffs investor profile, annual income, net worth and risk tolerance in order to

     justify engaging in aggressive and highly speculative trading.

                19.   Furthermore, the Debtor instructed Mr ..Bader to open margin and option accounts

     for the Plaintiff when the Plaintiff did not even understand the concept of margin and options

     trading.

             20.      All of these representations appeared on the new account forms without the

     knowledge of the Plaintiff. Plaintiff was later told by the broker not to worry and that the

     different designations and information that the Debtor had listed meant nothing and was a "mere

     formality".

             21.      The type of aggressive and highly speculative trading that the Debtor directed Mr.

     Bader to undertake was not in the best interests of the Plaintiff. Instead, Debtor's actions were

     intended to generate huge commissions and fees for the Debtor at the expense of placing the

     Plaintiff in extremely volatile stocks that carried a high risk of losses.

             22.      This pattern of deceit soon extended into the actual trading and account

     management conducted by the broker under the supervision of the Debtor. Almost every trade

     was executed without the Plaintiffs knowledge and involved highly speculative investments.

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            23.      The Debtor intentionally failed to establish and enforce a reasonable supervisory

    system, including written supervisory procedures, designed to prevent the quantitative suitability

    (excessive trading) and fraudulent churning violations that had taken place in Plaintiffs

    accounts.

            23.      Despite numerous "red flags" of excessive trading and churning brought to his

    attention the Debtor did absolutely nothing to ensure that his brokers, including Mr. Bader with

    respect to Plaintiffs account, were making recommendations that were quantitatively suitable for

    customers like the Plaintiff.

            24.      Instead, the Debtor permitted Mr. Bader to trade the Plaintiffs   a~counts


    frequently, often relying heavily on margin making it nearly impossible under any established

    metric for the Plaintiff to earn a profit in his accounts. Moreover, at the direction of the Debtor,

~   the broker continued to make unauthorized trades using the Plaintiffs margin account despite

    being told on three separate occasions by the Claimant to stop doing so. Instead, the Debtor

    pressed the broker to continue the reckless margin trading- all of which was to the detriment of

    the Plaintiff.

            25.      The Debtor knew this but took no meaningful steps to curb these trading abuses

    because to do so would have resulted in lower commissions and profits for the Debtor and his

    sales force. As a result, the Debtor failed to supervise in violation ofNASD Rules 3010(a) and

    (b) and FINRA Rule 201Q. At some point, the Plaintiff realized that his account equity had in fact

    disappeared due to Debtor's excessive commissions. Debtor kept promising the Plaintiff that he

    would be able to recoup all of the Plaintiffs losses and even tum those losses into gains!

            26.      The account was open only for 9 months from approximately February 2012

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  through November 2012. During that short period of time purchases of over $1.8 Million were

  made by the broker with commissions and margin interest/fees amassed in an amount that

  exceeded $57, 758.85 and a net out of pocket loss of ($80, 970.05). This ~as the culture that

  permeated the_ Debtor's business and it is he who is completely responsible for fostering same.

          27.     Accordingly, Plaintiff directed the undersigned to file a multi-count Statement of

   Claim with FINRA Dispute Resolution in order to engage in arbitration as required of all FINRA

   members, associated persons and their customers.

          28.     On August 5, 2015 Plaintiff filed a multi-count Statement of Claim, FINRA Case

  No. 15-02075 against the Debtor alieging the following cases of actions, to wit:

   churning/excessive trading, unauthorized trading, breach of fiduciary duty and misrepresentation.

  Each of these causes of action describe acts 'of fraud, deceit, manipulation of purchases and sales

~ of securities as well as violations of state and federal se~urities laws that are in fact recognized as

   grounds to contest the dischargeability of certain debts that the Debtor has disclosed in his

   bankruptcy petition. An Amended Statement of Claim was then filed on October 17, 2016 to add

  certain new patties.

          29.     A hearing was conducted in the underlying arbitration proceedings with the panel

  entering an award of compensatory damages in favor of the Plaintiff in the amount of

  $80,970.05, punitive damages of $81,000.00 expe1t witness fees of $4,025.00 and attorneys' fees

  of $36,400.00 jointly and severally as to all of the remaining Respondent~. A copy of the award

  is attached hereto as Exhibit A.

          30.     Most importantly, the award noted that the remaining Respondents had all

  engaged in the" ... willful, wanton, reckless disregard for customers and fraud."

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              Count 1-Non-Dischargeability of Plaintiff's Arbitration Proceedings .
                      Under Section 523(a) (19) of the Bankruptcy Code

        Plaintiff repeats and re-alleges Paragraphs 1-30 of this Complaint as if set forth herein ·

and further states:

        31.    . Bankruptcy Code Section 523 (a) (19) provides in relevant part that an individual

debtor cannot obtain a discharge of any debt that --

        (A) is for-

        (i) the violation Of any of the Federal securities laws ... ; or

        (ii) common law fraud, deceit or manipulation in connection with the purchase or sale of ·
        any security; and

        (B) results before, on, or after the date on which the petition was filed, from-

        (i) any judgment, order, consent order, or decree entered in any Federal or state judicial or
        administrative proceeding; or

        (iii) any court or administrative order for any damages, fine, penalty, citation,
        restitutionary payment, disgorgement payment, attorney fee, cost or other payment owed
        by the debtor.

        32.     All of the debt owed to the Plaintiff by the Debtor is non-dischargeable as it is a

debt related to a-violation of a securities law and is for common law fraud, deceit.or manipulation .

connected to the purchase and sale of securities that resulted in Plaintiff incurring monetary

damages of $252,193.83.

        WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment

determining that the above referenced FINRA arbitration reflected on Debtor's schedules be

deemed non-dischargeable under Bankruptcy Code Sections 523(a) (19) and granting any other

relief that the Court may deem appropriate.


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         35.      Bankruptcy Code Section 523 (a) (2) (A) provides in relevant part that

                  (a) A discharge under section 727, 1141, 1228 (a), 1228 (b) or 1328 (b) of this.
                  title does not discharge an individual debtor from any debt--

                  (2) for money, property, services, or an extension, renewal, or refinancing of
                  credit, to the extent obtained by --

                  (A) false pretenses, a false representation or actual fraud, other than a statement.
                  respecting the debtor's or an insider's financial condition ...

         36.      All or part of the debt owed to Plaintiff, as evidenced by the Award entered

against the remaining Respondents would certainly have been found to be owed by the Debtor .

.As such, said debt is non-dischargeable as it is         a debt for money that was obtained by false
pretenses, a false representation, or actual fraud within the meaning of Bankruptcy Code Section

523 (a) (2) (A).

         WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment
                                                                     ~



determining that the above referenced FINRA arbitration reflected on Debtor's schedules be

deemed non-dischargeable under Bankruptcy Code Sections 523(a) (2) (A) and granting any

other relief that the Court may deem appropriate.

             . lher.ehy certify that I am admitted to the Bar of the.United States District Court.for the Eastern District
ofNew York, and I am in compliance with the additional qualifications to practice in this Court as set forth in Local Rule

                                                                 Hilton Wiener, LLC
                                                                 Attorney for Plaintiff
                                                                 244 Fifth Avenue, Suite A-176
                                                                 New York, NY 10001
                                                                 (561) 750-6672
                                                                 hilton@hiltonwienerlaw.com


                                                                 By: Isl Hilton Wiener
                                                                        Hilton Wiener, Esq.
                                                                        New York Bar ID 1560978

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                    Count 11-Non-Dischargeability of Plailltiff's Arbitration Proceedings
                           Under Section 523(a) (2) (A) of the Bankruptcy Code

             Plaintiff repeats and re-alleges Paragraphs 1-30 of this Complaint as if set forth herein

     and further states:

             33.      Bankruptcy Code Section 523 (a) (4) provides in relevant part that an individual

     debtor cannot obtain a discharge of any debt that

             (a) A discharge under section 727, 1141, 1228(a), 1228 (b) or 1328 (b) of this title does
             not discharge an i!1dividual debtor from any debt--

             (4) for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or
             larceny ...

             34.      The Award entered as to the remaining Respondents found them all to have

     committed acts of fraud. There is no question that the Debtor would also have been found _to have

     engaged in the same conduct giving rise to a finding of fraud. Therefore, all or part of the debt
                                                              '
     owed to the Plaintiff as described in the Amended Statement of Claim is non-dischargeable as it

     is a debt related to fraud in a fiduciary capacity within the meaning of Bankruptcy Code Section

     523 (a) (4).

          · .. WHEREFORE,- Plaintiff respectfully requests that this Court. enter-a judgment

     determining that the above referenced FINRA arbitration reflected on Debtor's schedules be

     deemed non-dischargeable under Bankruptcy Code Sections 523(a) (4) and granting any other

     relief that the Court may deem appropriate.

                            Count Ill-Non-Dischargeability of Plaintiff's Award
                             Under Section 523(a) (4) of the Bankruptcy Code

             Plaintiff repeats and re-alleges Paragraphs 1-30 of this Complaint as if set forth herein

     and further states:

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  ATTORNEYS (Finn Name, Address, and Telephone No.) · ATTORNEYS (If Known)
  Hilton Wiener, Esq.            ·                  ·Neil R. Flaum, Esq.
  244 Fifth Ave., Suite A-176                       · 44 Plymouth Avenue

                                                                                                         tA-R~Check One Box Only)                             .
                                                                                                         ~t5)                      o U.S. Trustee/Bankruptcy Admin
                                                                                                         o ..Crediror              o Other
                                                                                                         o Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Action to Determine bischargeablity of Debt




              • .1 ;"   "/·I.••. ,               /':·:.""\;.:,;·:   ., ·~ "'.'\, •.;:_:·,wq,:


      FRBP 7001(1) Recovery of Money/Property                                                             FRBP 7001(6)- Dlschargeabillty (continued)
 D    ! !-Recovery of money/property- §542 turnover of property                                           D  61-Dischargeability §523(a)(5), domestic support
 ·D   12-Re~overy of money/property- §547 preference                                                      D      68-Dischargeability - §523(a)(6), willful and malicious injury
 D     13-Recovery of oney/property - §548 fraudulent transfer                                            D      63-Dischargeability - §523(a)(8), student loan
  D    14-Recovery of money/property· other                                                               D      64-Dischargeability. §523(a)(l5); divorce or separa!ion obligation
                                                                                                                    (other than domestic support)
      FRBP 7001(2)- Validity, Priority or Extent of Lien
                                                                                                          X      65-Dischargeability - other
                                                                                                                                                                         ·:::;:
  D   21-Validity, priority or extent of lien or other i~terest in property                                                                                                   ..

                                                                                                          FRBP 7001(7)- lnjunctive Relief                    .:tl·       :;;··
      FRBP 7001 (3) - Approval of Sale of Property                                                        D       71-lnjunctive relief- imposition of stay   f'f:f·
  D   31-Approval .of sale of.property of estate and ~fa co-owner - §363(h)
                                                                                                          D      72-Injunctive relief- other                 0
      FRBP 7001(4)- ()bjection/Revocation of Discharge                                                    FRB~ 700~ (8) Sub~rdination ~f Claim o~ In!!!t .
  D   41-0bjection l revocation of discharge - §727(c),(d),(e)
                                                                                                          D
                                                                                                           '•'
                                                                                                                 81-Subordination of claim or interest       <:
                                                                                                                                                             n1;.. ·
    . FRBP 7001(5)- Revocation of Confirmation
                                                                                                          FRBP 7001 (9) Declaratory Judgment
  D 5 I~ Revocation ofconfirrnation                                                                       D      91-Declaratory judgment
                                                                                                                                                             0
      :FRBP 7001(6)- Dischargeability                                                                     FRBP 7001(10) Determination of Removed Action
  D   66-Dischargeability - §523(a)(l),(14),(14A) priority tax claims
                                                                                                          D      OJ-Determination of removed claim or cause
  D   62-Dischargeability - §523(axl), false pretenses, false representation,
          actual fraud                                                                                    Other
  D   67-Dischargeability • §523(aX4), fraud as fiduciary, embezzlement, larceny                          D      SS-S!PA Case - 15 U.S.C. §§78aaa et.seq.
                                     (coniinuecl next column)                                                    02-0ther (e.g. other actions that would have been brought in state court
                                                                                                                     if unrelated to ban~ruptcy case)
 o -Check if this case involves a substantive issue of state law                                         o-Check if this is asserted to be a class action under FRCP 23
 o Check if a jury trial is demanded in complaint                                                        Demand $100,000
  Other Relief Sought
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    81040 (FORM 1040) (12/15)



 NAME OF DEBTOR Craig Taddonio                                                               B KRUPTCY CASE N0.8-16-74128-las

 DISTRICT IN WHICH CASE IS PENDING                                                           DIVISION OFFICE                          NAME OF JUDGE
 Eastern District of NY.                                                                     Central I!lliP                         LAS.
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 PLAINTIFF                             DEFENDANT                                                                                        ADVERSARY
 Jonathan Byrd, David Hug             Craig Taddonio                                                                                    PROCEEDING NO.
 Robert Abrahamsen
 DISTRICT JN WHICH ADVERSARY IS PENDING      DIVISlON OFFICE                                                                            NAME OF JUDGE
 EDNY-Central Islip                                                                                                                     LAS
 SIGNATURE OF ATTORNEY (OR PLAINTIFF)


 Isl Hilton Wiener


 DATE                                                                                        PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 5/31/17                                                                                                          Hilton Wiener


                                                                          INSTRUCTIONS
                                                      .                                  '                               .
             The filing of a bankruptcy case creates an "estate" under the jurisdiction of the.bankruptcy court which consists of
                                                                                                                                         .


   all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
   jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
   lawsuits. concerning the debtor's discharge. lf such a lawsuit is filed in a bankruptcy court, it is called an adversary
   proceeding.                    ·

             . A party filing an adversary proceeding must also must complete and file Form I 040, the Adversary Proceeding
    Cover Sheet, i.mless the party files the adversary proceeding electronically through the court's Case Management/Electronic
    C:ase Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
    completed, the cover sheet summ~rizes basic information on the adversary proceeding. The .clerk of.court.needs the-.....
    information to process the adversai:y proceedi.ng and prepare required statistical reports on court activity.

             The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
    or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
    explanatory, must be completed by the plaintiffs attorney (or by the plaintiff ifthe plaintiff is not represented by an
    attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

    Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

    Attorneys. Give the names and addresses of the attorneys, if known.

    Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

    Demand. Enter the dollar amount being demanded in the complaint.

    Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
    plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is prose, that is, not represented by an
    attorney, the plaintiff must sign.
